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                                       IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                                                   DIVISION OF ST. CROIX

                        CLIFFORD BOYNES, et al.,
                                                              Civil Action No. 2021-0253
                                      Plaintiffs,

                                       v.

                        LIMETREE BAY VENTURES, LLC, et al.,

                                       Defendants.


                        HELEN SHIRLEY, et al.,
                                                              Civil Action No. 2021-0259
                                       Plaintiffs,

                                       v.

                        LIMETREE BAY VENTURES, LLC, et al.,

                                       Defendants.


                        FRANCIS E. CHARLES and THERESA J.
                        CHARLES,                          Civil Action No. 2021-0260

                                       Plaintiffs,

                                       v.

                        LIMETREE BAY VENTURES, LLC, et al.,

                                       Defendants.


                        BEECHER COTTON, et al.,
                                                              Civil Action No. 2021-0261
                                     Plaintiffs,
                                     v.

                        LIMETREE BAY VENTURES, LLC, et al.,
LEE J. ROHN AND
ASSOCIATES, LLC
1108 King St, Ste 3
  Christiansted, VI                  Defendants.
       00820
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                                   PLAINTIFFS’ WITNESS LIST

          Pursuant to this Court’s Order dated May 8, 2023, Cotton Plaintiffs submit the

  following Witness List for the hearing on June 6, 2023:

  WILL CALL WITNESS

      1) Marver Antoine (via live testimony) (expected length of 45 minutes).
         539 Mount Pleasant
         St. Croix, USVI 00840

          Ms. Antoine is expected to testify as to her home being contaminated by the
          discharges, her use of the former water program, her need for a water program
          and what, from her experience, is needed for a proper water program.

                                                  RESPECTFULLY SUBMITTED
                                                  LEE J. ROHN AND ASSOCIATES, LLC
                                                  Attorneys for Plaintiffs



  DATED: May 30, 2023                             BY:      /s/ Lee J. Rohn
                                                        Lee J. Rohn, Esq.
                                                        VI Bar No. 52
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                                                        56 King Street, Third Floor (physical)
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                                                        U.S. Virgin Islands 00820
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                                   CERTIFICATE OF SERVICE

         THIS IS TO CERTIFY that on May 30, 2023, I electronically filed the foregoing with
  the Clerk of the Court using the electronic filing system, which will send a notification of
  such filing to the following:


          All counsel of record


                                                  BY:     /s/ Lee J. Rohn                   (kj)
